                                  UNITED STATES DISTRICT COURT
                                  EASTERN DISTRICT OF KENTUCKY
                                        CENTRAL DIVISION
                                           FRANKFORT

JUDICIAL WATCH, INC.,                                 )
                                                      )
          Plaintiff,                                  )
                                                      )        Civil No. 3:17-cv-00094-GFVT
UNITED STATES OF AMERICA,                             )
                                                      )
          Plaintiff-Intervenor,                       )                    ORDER
                                                      )
v.                                                    )
                                                      )
MICHAEL ADAMS, in his official capacity               )
as Secretary of State, et al.,

          Defendants.
                                            *** *** *** ***

            This matter is before the Court on its own motion. On November 14, 2018, Judicial

     Watch filed a Complaint that initiated this action against the former Secretary of State and the

     Executive Director and members of the Kentucky State Board of Elections. [R. 1.] On June 12,

     the parties filed a proposed agreed Consent Judgment, which the Court approved and entered on

     July 3. [R. 39.] Following the parties’ disagreements, Plaintiffs filed a Motion to Modify and

     Enforce the Consent Judgment due to Defendants’ alleged breaches. [R. 45.] This Court held a

     hearing on December 18, 2019 to hear arguments from the parties in regard to the pending

     motion. [R. 68.]

            Following the hearing, there was a change of administration that included the transition

     of the current Secretary of State. In light of this change, the Court ordered the new Secretary of

     State, Michael Adams, to file a status report in regard to his views of the pending matter and

     update on the status of compliance under the Consent Decree. [R. 74.] In his status report filed

     on July 15, 2020, Secretary Adams states that he “will work with the parties to this action, and
anyone else, to ensure compliance with federal and state law.” [R. 78 at 2.] In support,

Secretary Adams recommends the State Board of Elections mark voters who are sent Section

8(d)(2) notices within the Voter Registration System at the time of mailing the notice. Id. at 1-2.

He also includes his recent agreement with Governor Andy Beshear in regard to the June 23

election, as incorporated by an emergency regulation promulgated by the State Board of

Elections to implement the agreement. [R. 78-1.] This agreement portrays that “in addition to

compliance with the Consent Decree, the Commonwealth now is taking proactive steps to get its

voter rolls as clean as possible in advance of the earliest NVRA-permissible purgation following

the November 2022 election.” [R. 78 at 1-2.]

       Given the changed circumstances and present status of the case, the Court believes a

hearing on the pending Motion to Modify and Enforce the Consent Judgment [R. 45] is

necessary. Due to travel restrictions, parties have the choice as to whether they would like to

appear in-person or via videoconference. However, if any party chooses to appear via

videoconference, they will need to advise the Court in order to coordinate the necessary

technology arrangements. Accordingly, and the Court being sufficiently advised, a hearing on

the pending motion [R. 45] is SCHEDULED for Friday, August 21, 2020, at the hour of 1:30

p.m. at the United States District Courthouse in Frankfort, Kentucky.

       This the 11th day of August, 2020.




                                                 2
